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  8
  9                             UNITED STATES DISTRICT COURT
 10                            CENTRAL DISTRICT OF CALIFORNIA
 11
 12 RUSNAK/PASADENA, a California                     Case No. 2:20-cv-02302-AB-MAA
    corporation,
 13                                                   Judge: Hon. André Birotte Jr
                 Plaintiff,                           Dept: 7B
 14
            vs.                                       AMENDED STIPULATED
 15                                                   PROTECTIVE ORDER
    JAGUAR LAND ROVER NORTH
 16 AMERICA, LLC, a Delaware limited
    liability company, DOES 1-20, inclusive,
 17
                 Defendants.
 18
 19
 20                I.   PURPOSES AND LIMITATIONS

 21                A.   Discovery in this action is likely to involve production of confidential,
 22 proprietary, or private information for which special protection from public disclosure
 23 and from use for any purpose other than prosecuting this litigation may be warranted.
 24 Accordingly, the parties hereby stipulate to and petition the Court to enter the
 25 following Amended Stipulated Protective Order. The parties acknowledge this Order
 26 does not confer blanket protections on all disclosures or responses to discovery and
 27 that the protection it affords from public disclosure and use extends only to the limited
 28 information or items that are entitled to confidential treatment under the applicable

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  1 legal principles. The parties further acknowledge, as set forth in Section XIII(C),
  2 below, that this Amended Stipulated Protective Order does not entitle them to file
  3 confidential information under seal; Civil Local Rule 79-5 sets forth the procedures
  4 that must be followed and the standards that will be applied when a party seeks
  5 permission from the Court to file material under seal.
  6                II.    GOOD CAUSE STATEMENT
  7                This action involves customer and pricing lists and other valuable commercial,
  8 financial, and/or proprietary information for which special protection from public
  9 disclosure and from use for any purpose other than prosecution of this action is
 10 warranted. Such confidential and proprietary materials and information consist of,
 11 among other things, confidential business or financial information, information
 12 regarding confidential business practices, or other commercial information (including
 13 information implicating privacy rights of third parties), information otherwise
 14 generally unavailable to the public, or which may be privileged or otherwise protected
 15 from disclosure under state or federal statutes, court rules, case decisions, or common
 16 law. Accordingly, to expedite the flow of information, to facilitate the prompt
 17 resolution of disputes over confidentiality of discovery materials, to adequately protect
 18 information the parties are entitled to keep confidential, to ensure that the parties are
 19 permitted reasonable necessary uses of such material in preparation for and in the
 20 conduct of trial, to address their handling at the end of the litigation, and serve the ends
 21 of justice, a protective order for such information is justified in this matter. It is the
 22 intent of the parties that information will not be designated as confidential for tactical
 23 reasons and that nothing be so designated without a good faith belief that it has been
 24 maintained in a confidential, non-public manner, and there is good cause why it should
 25 not be part of the public record of this case.
 26                III.   DEFINITIONS
 27                A.     Action: The above captioned lawsuit.
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  1                B.   Challenging Party: A Party or Non-Party that challenges the designation
  2 of information or items under this Order.
  3                C.   “CONFIDENTIAL” Information or Items: Information (regardless of
  4 how it is generated, stored or maintained) or tangible things that qualify for protection
  5 under Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
  6 Statement.
  7                D.   Counsel: Outside Counsel of Record and House Counsel (as well as their
  8 support staff).
  9                E.   Designating Party: A Party or Non-Party that designates information or
 10 items that it produces in disclosures or in responses to discovery as
 11 “CONFIDENTIAL.”
 12                F.   Disclosure or Discovery Material: All items or information, regardless
 13 of the medium or manner in which it is generated, stored, or maintained (including,
 14 among other things, testimony, transcripts, and tangible things), that are produced or
 15 generated in disclosures or responses to discovery in this matter.
 16                G.   Expert: A person with specialized knowledge or experience in a matter
 17 pertinent to the litigation who has been retained by a Party or its counsel to serve as an
 18 expert witness or as a consultant in this Action.
 19                H.   House Counsel: Attorneys who are employees of a party to this Action.
 20 House Counsel does not include Outside Counsel of Record or any other outside
 21 counsel.
 22                I.   Non-Party: Any natural person, partnership, corporation, association, or
 23 other legal entity not named as a Party to this action.
 24                J.   Outside Counsel of Record: Attorneys who are not employees of a party
 25 to this Action but are retained to represent or advise a party to this Action and have
 26 appeared in this Action on behalf of that party or are affiliated with a law firm which
 27 has appeared on behalf of that party, and includes support staff.
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  1                K.    Party: Any party to this Action, including all of its officers, directors,
  2 employees, consultants, retained experts, and Outside Counsel of Record (and their
  3 support staffs).
  4                L.    Producing Party: A Party or Non-Party that produces Disclosure or
  5 Discovery Material in this Action.
  6                M.    Professional Vendors: Persons or entities that provide litigation support
  7 services (e.g., photocopying, videotaping, translating, preparing exhibits or
  8 demonstrations, and organizing, storing, or retrieving data in any form or medium) and
  9 their employees and subcontractors.
 10                N.    Protected Material:    Any Disclosure or Discovery Material that is
 11 designated as “CONFIDENTIAL.”
 12                O.    Receiving Party: A Party that receives Disclosure or Discovery Material
 13 from a Producing Party.
 14                IV.   SCOPE
 15                A.    The protections conferred by this Stipulation and Order cover not only
 16 Protected Material (as defined above), but also (1) any information copied or extracted
 17 from Protected Material; (2) all copies, excerpts, summaries, or compilations of
 18 Protected Material; and (3) any testimony, conversations, or presentations by Parties
 19 or their Counsel that might reveal Protected Material.
 20                B.    Any use of Protected Material at trial shall be governed by the orders of
 21 the trial judge. This Order does not govern the use of Protected Material at trial.
 22                V.    DURATION
 23                Even after final disposition of this litigation, the confidentiality obligations
 24 imposed by this Order shall remain in effect until a Designating Party agrees otherwise
 25 in writing or a court order otherwise directs. Final disposition shall be deemed to be
 26 the later of (1) dismissal of all claims and defenses in this Action, with or without
 27 prejudice; and (2) final judgment herein after the completion and exhaustion of all
 28 appeals, rehearings, remands, trials, or reviews of this Action, including the time limits
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  1 for filing any motions or applications for extension of time pursuant to applicable law.
  2                VI.   DESIGNATING PROTECTED MATERIAL
  3                      A.    Exercise of Restraint and Care in Designating Material for
  4 Protection.
  5                1.    Each Party or Non-Party that designates information or items for
  6 protection under this Order must take care to limit any such designation to specific
  7 material that qualifies under the appropriate standards. The Designating Party must
  8 designate for protection only those parts of material, documents, items, or oral or
  9 written communications that qualify so that other portions of the material, documents,
 10 items, or communications for which protection is not warranted are not swept
 11 unjustifiably within the ambit of this Order.
 12                2.    Mass, indiscriminate, or routinized designations are prohibited.
 13 Designations that are shown to be clearly unjustified or that have been made for an
 14 improper purpose (e.g., to unnecessarily encumber the case development process or to
 15 impose unnecessary expenses and burdens on other parties) may expose the
 16 Designating Party to sanctions.
 17                3.    If it comes to a Designating Party’s attention that information or items
 18 that it designated for protection do not qualify for protection that Designating Party
 19 must promptly notify all other Parties that it is withdrawing the inapplicable
 20 designation.
 21                      B.    Manner and Timing of Designations
 22                1.    Except as otherwise provided in this Order (see, e.g., Section B(2)(b)
 23 below), or as otherwise stipulated or ordered, Disclosure or Discovery Material that
 24 qualifies for protection under this Order must be clearly so designated before the
 25 material is disclosed or produced.
 26                2.    Designation in conformity with this Order requires the following:
 27                a.    For information in documentary form (e.g., paper or electronic
 28 documents, but excluding transcripts of depositions or other pretrial or trial
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  1 proceedings), that the Producing Party affix at a minimum, the legend
  2 “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
  3 contains protected material.
  4                b.   A Party or Non-Party that makes original documents available for
  5 inspection need not designate them for protection until after the inspecting Party has
  6 indicated which documents it would like copied and produced. During the inspection
  7 and before the designation, all of the material made available for inspection shall be
  8 deemed “CONFIDENTIAL.” After the inspecting Party has identified the documents
  9 it wants copied and produced, the Producing Party must determine which documents,
 10 or portions thereof, qualify for protection under this Order. Then, before producing
 11 the specified documents, the Producing Party must affix the “CONFIDENTIAL
 12 legend” to each page that contains Protected Material.
 13                c.   For testimony given in depositions, that the Designating Party identify
 14 the Disclosure or Discovery Material on the record, before the close of the deposition
 15 all protected testimony.
 16                d.   For information produced in form other than document and for any other
 17 tangible items, that the Producing Party affix in a prominent place on the exterior of
 18 the container or containers in which the information is stored the legend
 19 “CONFIDENTIAL.”               If only a portion or portions of the information warrants
 20 protection, the Producing Party, to the extent practicable, shall identify the protected
 21 portion(s).
 22                     C.    Inadvertent Failure to Designate
 23                1.   If timely corrected, an inadvertent failure to designate qualified
 24 information or items does not, standing alone, waive the Designating Party’s right to
 25 secure protection under this Order for such material. Upon timely correction of a
 26 designation, the Receiving Party must make reasonable efforts to assure that the
 27 material is treated in accordance with the provisions of this Order.
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  1                VII. CHALLENGING CONFIDENTIALITY DESIGNATIONS
  2                A.   Timing of Challenges
  3                1.   Any party or Non-Party may challenge a designation of confidentiality at
  4 any time that is consistent with the Court’s Scheduling Order.
  5                B.   Meet and Confer
  6                1.   The Challenging Party shall initiate the dispute resolution process under
  7 Local Rule 37.1 et seq. and shall comply with Section 4 of Judge Audero’s Procedures
  8 (“Mandatory Telephonic Conference for Discovery Disputes”).1
  9                C.   The burden of persuasion in any such challenge proceeding shall be on
 10 the Designating Party. Frivolous challenges, and those made for an improper purpose
 11 (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
 12 expose the Challenging Party to sanctions. Unless the Designating Party has waived
 13 or withdrawn the confidentiality designation, all parties shall continue to afford the
 14 material in question the level of protection to which it is entitled under the Producing
 15 Party’s designation until the Court rules on the challenge.
 16                VIII. ACCESS TO AND USE OF PROTECTED MATERIAL
 17                A.   Basic Principles
 18                1.   A Receiving Party may use Protected Material that is disclosed or
 19 produced by another Party or by a Non-Party in connection with this Action only for
 20 prosecuting, defending, or attempting to settle this Action. Such Protected Material
 21 may be disclosed only to the categories of persons and under the conditions described
 22 in this Order. When the Action has been terminated, a Receiving Party must comply
 23 with the provisions of Section XIV below.
 24
 25
 26
 27
     Judge Audero’s Procedures are available at
      1

 28 https://www.cacd.uscourts.gov/honorable-maria-audero.
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  1                2.   Protected Material must be stored and maintained by a Receiving Party
  2 at a location and in a secure manner that ensures that access is limited to the persons
  3 authorized under this Order.
  4                B.   Disclosure of “CONFIDENTIAL” Information or Items
  5                1.   Unless otherwise ordered by the Court or permitted in writing by the
  6 Designating Party, a Receiving Party may disclose any information or item designated
  7 “CONFIDENTIAL” only to:
  8                a.   The Receiving Party’s Outside Counsel of Record in this Action, as well
  9 as employees of said Outside Counsel of Record to whom it is reasonably necessary
 10 to disclose the information for this Action;
 11                b.   The officers, directors, and employees (including House Counsel) of the
 12 Receiving Party to whom disclosure is reasonably necessary for this Action;
 13                c.   Experts (as defined in this Order) of the Receiving Party to whom
 14 disclosure is reasonably necessary for this Action and who have signed the
 15 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 16                d.   The Court and its personnel;
 17                e.   Court reporters and their staff;
 18                f.   Professional jury or trial consultants, mock jurors, and Professional
 19 Vendors to whom disclosure is reasonably necessary or this Action and who have
 20 signed the “Acknowledgment and Agreement to be Bound” attached as Exhibit A
 21 hereto;
 22                g.   The author or recipient of a document containing the information or a
 23 custodian or other person who otherwise possessed or knew the information;
 24                h.   During their depositions, witnesses, and attorneys for witnesses, in the
 25 Action to whom disclosure is reasonably necessary provided: (i) the deposing party
 26 requests that the witness sign the “Acknowledgment and Agreement to Be Bound;”
 27 and (ii) they will not be permitted to keep any confidential information unless they
 28 sign the “Acknowledgment and Agreement to Be Bound,” unless otherwise agreed by
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  1 the Designating Party or ordered by the Court. Pages of transcribed deposition
  2 testimony or exhibits to depositions that reveal Protected Material may be separately
  3 bound by the court reporter and may not be disclosed to anyone except as permitted
  4 under this Amended Stipulated Protective Order; and
  5                i.    Any mediator or settlement officer, and their supporting personnel,
  6 mutually agreed upon by any of the parties engaged in settlement discussions.
  7                IX.   PROTECTED          MATERIAL        SUPOENAED           OR    ORDERED
  8 PRODUCED IN OTHER LITIGATION
  9                A.    If a Party is served with a subpoena or a court order issued in other
 10 litigation that compels disclosure of any information or items designated in this Action
 11 as “CONFIDENTIAL,” that Party must:
 12                      1.    Promptly notify in writing the Designating Party. Such notification
 13                      shall include a copy of the subpoena or court order;
 14                      2.    Promptly notify in writing the party who caused the subpoena or
 15                      order to issue in the other litigation that some or all of the material
 16                      covered by the subpoena or order is subject to this Protective Order. Such
 17                      notification shall include a copy of this Amended Stipulated Protective
 18                      Order; and
 19                      3.    Cooperate with respect to all reasonable procedures sought to be
 20                      pursued by the Designating Party whose Protected Material may be
 21                      affected.
 22                B.    If the Designating Party timely seeks a protective order, the Party served
 23 with the subpoena or court order shall not produce any information designated in this
 24 action as “CONFIDENTIAL” before a determination by the Court from which the
 25 subpoena or order issued, unless the Party has obtained the Designating Party’s
 26 permission. The Designating Party shall bear the burden and expense of seeking
 27 protection in that court of its confidential material and nothing in these provisions
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   1 should be construed as authorizing or encouraging a Receiving Party in this Action to
   2 disobey a lawful directive from another court.
   3                X.   A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
   4                PRODUCED IN THIS LITIGATION
   5                A.   The terms of this Order are applicable to information produced by a Non-
   6 Party in this Action and designated as “CONFIDENTIAL.”                       Such information
   7 produced by Non-Parties in connection with this litigation is protected by the remedies
   8 and relief provided by this Order. Nothing in these provisions should be construed as
   9 prohibiting a Non-Party from seeking additional protections.
 10                 B.   In the event that a Party is required, by a valid discovery request, to
 11 produce a Non-Party’s confidential information in its possession, and the Party is
 12 subject to an agreement with the Non-Party not to produce the Non-Party’s
 13 confidential information, then the Party shall:
 14                      1.    Promptly notify in writing the Requesting Party and the Non-Party
 15                      that some or all of the information requested is subject to a confidentiality
 16                      agreement with a Non-Party;
 17                      2.    Promptly provide the Non-Party with a copy of the Amended
 18                      Stipulated Protective Order in this Action, the relevant discovery
 19                      request(s), and a reasonably specific description of the information
 20                      requested; and
 21                      3.    Make the information requested available for inspection by the
 22                      Non-Party, if requested.
 23                 C.   If the Non-Party fails to seek a protective order from this court within 14
 24 days of receiving the notice and accompanying information, the Receiving Party may
 25 produce the Non-Party’s confidential information responsive to the discovery request.
 26 If the Non-Party timely seeks a protective order, the Receiving Party shall not produce
 27 any information in its possession or control that is subject to the confidentiality
 28 agreement with the Non-Party before a determination by the court.
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   1 Absent a court order to the contrary, the Non-Party shall bear the burden and expense
   2 of seeking protection in this court of its Protected Material.
   3                XI.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
   4                A.    If a Receiving Party learns that, by inadvertence or otherwise, it has
   5 disclosed Protected Material to any person or in any circumstance not authorized under
   6 this Amended Stipulated Protective Order, the Receiving Party must immediately (1)
   7 notify in writing the Designating Party of the unauthorized disclosures, (2) use its best
   8 efforts to retrieve all unauthorized copies of the Protected Material, (3) inform the
   9 person or persons to whom unauthorized disclosures were made of all the terms of this
 10 Order, and (4) request such person or persons to execute the “Acknowledgment and
 11 Agreement to be Bound” that is attached hereto as Exhibit A.
 12                 XII. INADVERTENT            PRODUCTION         OF      PRIVILEGED       OR
 13                 OTHERWISE PROTECTED MATERIAL
 14                 A.    When a Producing Party gives notice to Receiving Parties that certain
 15 inadvertently produced material is subject to a claim of privilege or other protection,
 16 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 17 Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
 18 may be established in an e-discovery order that provides for production without prior
 19 privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
 20 parties reach an agreement on the effect of disclosure of a communication or
 21 information covered by the attorney-client privilege or work product protection, the
 22 parties may incorporate their agreement in the Amended Stipulated Protective Order
 23 submitted to the Court.
 24                 XIII. MISCELLANEOUS
 25                 A.    Right to Further Relief.
 26                 1.    Nothing in this Order abridges the right of any person to seek its
 27 modification by the Court in the future.
 28                 B.    Right to Assert Other Objections.
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   1                1.   By stipulating to the entry of this Protective Order, no Party waives any
   2 right it otherwise would have to object to disclosing or producing any information or
   3 item on any ground not addressed in this Amended Stipulated Protective Order.
   4 Similarly, no Party waives any right to object on any ground to use in evidence of any
   5 of the material covered by this Protective Order.
   6                C.   Filing Protected Material.
   7                1.   A Party that seeks to file under seal any Protected Material must comply
   8 with Civil Local Rule 79-5. Protected Material may only be filed under seal pursuant
   9 to a court order authorizing the sealing of the specific Protected Material at issue. If a
 10 Party's request to file Protected Material under seal is denied by the Court, then the
 11 Receiving Party may file the information in the public record unless otherwise
 12 instructed by the Court.
 13                 XIV. FINAL DISPOSITION
 14                 A.   After the final disposition of this Action, as defined in Section V, within
 15 sixty (60) days of a written request by the Designating Party, each Receiving Party
 16 must return all Protected Material to the Producing Party or destroy such material. As
 17 used in this subdivision, “all Protected Material” includes all copies, abstracts,
 18 compilations, summaries, and any other format reproducing or capturing any of the
 19 Protected Material. Whether the Protected Material is returned or destroyed, the
 20 Receiving Party must submit a written certification to the Producing Party (and, if not
 21 the same person or entity, to the Designating Party) by the 60 day deadline that (1)
 22 identifies (by category, where appropriate) all the Protected Material that was returned
 23 or destroyed and (2) affirms that the Receiving Party has not retained any copies,
 24 abstracts, compilations, summaries or any other format reproducing or capturing any
 25 of the Protected Material. Notwithstanding this provision, Counsel are entitled to
 26 retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
 27 transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
 28 reports, attorney work product, and consultant and expert work product, even if such
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   1 materials contain Protected Material.               Any such archival copies that contain or
   2 constitute Protected Material remain subject to this Protective Order as set forth in
   3 Section V.
   4                B.    Any violation of this Order may be punished by any and all appropriate
   5 measures including, without limitation, contempt proceedings and/or monetary
   6 sanctions.
   7 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
   8
   9 Dated: November 3, 2021                                 /s/ Jade F. Jurdi
                                                             Halbert B. Rasmussen, Esq.
 10
                                                             Jeffrey W. Erdman, Esq.
 11                                                          Jade F. Jurdi, Esq.
                                                             Attorneys for Plaintiff
 12
                                                             RUSNAK/PASADENA
 13
 14
 15
       Dated: November 3, 2021                               /s/ Alyssa Saviss
 16
                                                             John J. Sullivan, Esq.
 17                                                          Jordan D. Teti, Esq.
                                                             Alyssa Saviss, Esq.
 18
                                                             Attorneys for Defendant Jaguar Land
 19                                                          Rover North America, LLC
 20
 21                 I attest that all other signatories listed, and on whose behalf the filing is
 22 submitted, concur in the filing’s content and have authorized the filing
 23
 24 Dated: November 3, 2021                                  /s/ Jade F. Jurdi
                                                             Jade F. Jurdi, Esq.
 25
                                                             Attorney for Plaintiff
 26                                                          RUSNAK/PASADENA
 27
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   1 FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
                                        RED
                                          D.
   2
   3                11/04/2021
       Dated:
   4                                                 HONORABLE
                                                            RA
                                                             ABLE MARIA A. AUDERO
                                                     United St
                                                            States
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   1                                     EXHIBIT A
   2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   3        I,                             declare under penalty of perjury that I have read
   4 and understand the Amended Stipulated Protective Order that was issued by the United
   5 States District Court for the Central District of California on [DATE] in the case of
   6 Rusnak/Pasadena v. Jaguar Land Rover North America, LLC, Case No. 2:20-cv-
   7 02302-AB-MAA. I agree to comply with and to be bound by all the terms of this
   8 Amended Stipulated Protective Order and I understand and acknowledge that failure
   9 to so comply could expose me to sanctions and punishment in the nature of contempt.
 10 I solemnly promise that I will not disclose in any manner any information or item that
 11 is subject to this Amended Stipulated Protective Order except in strict compliance with
 12 this Order. I further agree to submit to the jurisdiction of the United States District
 13 Court for the Central District of California for the purpose of enforcing the terms of
 14 this Amended Stipulated Protective Order, even if such enforcement proceedings
 15 occur after termination of this action. I hereby appoint
 16 [print or type full name] of                               [print or type full address
 17 and telephone number] as my California agent for service of process in connection
 18 with this action or any proceedings related to enforcement of this Amended Stipulated
 19 Protective Order.
 20 Date:
 21 City and State where sworn and signed:
 22 Printed Name:
 23 Signature:
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